         Case 1:15-cv-07433-LAP Document 988 Filed 09/20/19 Page 1 of 1



                                                                                     Sigrid McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                        September 20, 2019

VIA ECF
The Honorable Judge Loretta A. Preska
District Court Judge
United States District Court
500 Pearl Street
New York, NY 10007
       Re:     Giuffre v. Maxwell,
               Case No. 15-cv-07433-LAP

Dear Judge Preska:

         Plaintiff submits this response to Defendant’s September 18, 2019, letter (Dkt. 987) in
order to correct the record concerning Judge Sweet’s handling of deposition materials that were
designated for use at trial. Defendant acknowledges that Plaintiff’s counsel provided the Court
with “more than a dozen boxes of material, presumably all of the deposition transcripts,” but then
speculates that the transcripts were “unread” and asserts that “[t]he parties do not know whether
Judge Sweet ever reviewed any of the deposition designations, counter-designations, or objections.”
Id. at 3.

        Contrary to Defendant’s suggestion, Judge Sweet actively reviewed the materials
submitted. See Dkt. 903 (Apr. 5, 2017, Tr.) at 31 (Court noting it had “two and a half feet of
depositions to review with objections”); Ex. A (correspondence between Chambers and Plaintiff’s
counsel stating: “I just want to make sure that there is nothing MISSING from the Binder that the
Judge needs to rule on”). The Court’s review of these materials makes clear that these are judicial
documents. In addition, the fact that Court reviewed the transcripts, designations, counter-
designations, and objections at the same time weighs in favor of grouping these materials in the
same category. Ex. A at 1-3. The fact that there is not a separate docket entry for the initial trial
deposition designations and instead the Court had the depositions delivered to chambers does not
mean that they are not part of the record to be considered for unsealing. The trial deposition
designations are clearly part of the court record, as were the objections and the testimony of the
counter-designations which have docket entry numbers, were considered by the Court and are
subject to the same unsealing review process as other documents in the court record.

                                     Sincerely,


                                      /s/ Sigrid McCawley
                                      Sigrid S. McCawley, Esq.
Case 1:15-cv-07433-LAP Document 988-1 Filed 09/20/19 Page 1 of 5




                  Exhibit A
                       Case 1:15-cv-07433-LAP Document 988-1 Filed 09/20/19 Page 2 of 5




From:                                  Sandra Perkins
Sent:                                  Thursday, April 27, 2017 4:12 PM
To:                                    'Maya_H_Nuland@nysd.uscourts.gov'
Cc:                                    'SweetNYSDChambers@nysd.uscourts.gov'
Subject:                               RE: Giuffre v. Maxwell, Case No: 15-cv-07433-RWS
Attachments:                           2017.04.03 Defts Amended Objs to Ptfs Depo Desgs.pdf

Follow Up Flag:                        Follow up
Flag Status:                           Flagged


Maya,

See attached, in an abundance of caution, I just doubled check the docket and there appears to a late submission by
Defendant [DE        ] which doesn’t appear to be on the binder index. Attached is what I found in the unredacted e-mail
distribution for this date.

I believe you should now have everything you need. Please do not hesitate to contact me should you need anything
further.
Sandra

From: Maya_H_Nuland@nysd.uscourts.gov [mailto:Maya_H_Nuland@nysd.uscourts.gov]
Sent: Thursday, April 27, 2017 3:56 PM
To: Sandra Perkins
Cc: SweetNYSDChambers@nysd.uscourts.gov
Subject: RE: Giuffre v. Maxwell, Case No: 15-cv-07433-RWS

That is very helpful, thank you. I just want to make sure that there is nothing MISSING from the Binder that the Judge needs to
rule on.

Maya Nuland
Law Clerk to the Honorable Robert W. Sweet
United States District Court for the Southern District of New York
500 Pearl Street, Suite 1940
New York, NY 10007-1312
(212) 805-0463

From:      Sandra Perkins <sperkins@BSFLLP.com>
To:      "SweetNYSDChambers@nysd.uscourts.gov" <SweetNYSDChambers@nysd.uscourts.gov>
Cc:      "Maya_H_Nuland@nysd.uscourts.gov" <Maya_H_Nuland@nysd.uscourts.gov>
Date:      04/27/2017 03:51 PM
Subject:     RE: Giuffre v. Maxwell, Case No: 15-cv-07433-RWS




Maya, I hope this answers your question. There should be 10 items in the binder (which are both Plaintiff and
Defendant submissions). However, the attached word versions relate to Plaintiff’s submissions and should correspond
to the binder tabs 1, 3, 6, 7, 9 and 10.

Please let me know if the binder has less than 10 items in it (or if there is anything missing) as it was assembled for us

                                                                        1
                        Case 1:15-cv-07433-LAP Document 988-1 Filed 09/20/19 Page 3 of 5
in our NY office so I was unable to put eyes on it before it was delivered.

Thank you and I apologize for any confusion,
Sandra

01-13-2017 Plaintiff's Deposition Designations............................................................................... 1
01-27-2017 Plaintiff's Objections AND Cross Designations............................................................... 3
02-06-2017 Plaintiff's Supplemental Designations (Kellen/Marcinkova)............................................. 6
02-17-2017 Plaintiff's Objections to Defendant’s Counter Designations............................................ 7
03-28-2017 Response to Defendant’s Objections to Plaintiff's Designations...................................... 9
03-28-2017 Notice of filing Typographical Errors........................................................................... 10


From: Maya_H_Nuland@nysd.uscourts.gov [mailto:Maya_H_Nuland@nysd.uscourts.gov] On Behalf Of
SweetNYSDChambers@nysd.uscourts.gov
Sent: Thursday, April 27, 2017 3:40 PM
To: Sandra Perkins
Cc: SweetNYSDChambers@nysd.uscourts.gov
Subject: Re: Giuffre v. Maxwell, Case No: 15-cv-07433-RWS

Thank you, Sandra. So which of these documents are what was in the binder? Since we received the binders on April 5, I
understood that to contain the final versions of all of the deposition designations and objections to designations, incorporating all
amendments, etc.
Sandra Perkins <sperkins@BSFLLP.com>

                                                      To "SweetNYSDChambers@nysd.uscourts.gov" <SweetNYSDChambers@nysd.uscourts.gov>
04/27/2017 01:37 PM
                                                      cc "Maya_H_Nuland@nysd.uscourts.gov" <Maya_H_Nuland@nysd.uscourts.gov>
                                                 Subject Giuffre v. Maxwell, Case No: 15-cv-07433-RWS




To the honorable Judge Sweet,

As a follow up to Maya Nuland’s phone call request today, please see the below list of what should in the designations
binder submitted to the Court, along with the word versions of Plaintiff’s submissions (highlighted below). For the
Court’s convenience, I have also included a word document for “Tab 2 - Defendant’s Deposition Designations (charted
by BSF)” which was charted by BSF due to Defendant’s 1/13/17 submission being received in highlighted transcript
form.

Please feel free to contact me should you have any questions or need any additional information.


DEPOSITION DESIGNATIONS, COUNTER DESIGNATIONS & OBJECTIONS
                                                                           2
                        Case 1:15-cv-07433-LAP Document 988-1 Filed 09/20/19 Page 4 of 5
                                                                                                                                  TAB



01-13-2017 Plaintiff's Deposition Designations............................................................................... 1



01-13-2017 Defendant’s Deposition Designations (Charted by BSF)................................................... 2



01-27-2017 Plaintiff's Objections AND Cross Designations............................................................... 3



01-27-2017 Defendant’s Objections to Plaintiff's Deposition Designations........................................ 4



02-03-2017 Defendant’s Counter-Designations to Plaintiff's Deposition Designations........................ 5



02-06-2017 Plaintiff's Supplemental Designations (Kellen/Marcinkova)............................................. 6



02-17-2017 Plaintiff's Objections to Defendant’s Counter Designations............................................ 7



02-17-2017 Defendant’s Objections to Plaintiff's Cross Designations................................................ 8



03-28-2017 Response to Defendant’s Objections to Plaintiff's Designations...................................... 9



03-28-2017 Notice of filing Typographical Errors........................................................................... 10


Kindest Regards,

Sandra Perkins Borger
Paralegal



                                                                            3
                            Case 1:15-cv-07433-LAP Document 988-1 Filed 09/20/19 Page 5 of 5




 BOIES SCHILLER FLEXNER LLP
401 E. Las Olas Blvd. Suite 1200
Fort Lauderdale, FL, 33301




 (t)   +1 954 377 4219
 (m) +1 954 356 0011
sperkins@bsfllp.com
www.bsfllp.com




The information contained in this electronic message is confidential information intended only for the use of the named recipient(s) and may contain information that, among
other protections, is the subject of attorney-client privilege, attorney work product or exempt from disclosure under applicable law. If the reader of this electronic message is
not the named recipient, or the employee or agent responsible to deliver it to the named recipient, you are hereby notified that any dissemination, distribution, copying or
other use of this communication is strictly prohibited and no privilege is waived. If you have received this communication in error, please immediately notify the sender by
replying to this electronic message and then deleting this electronic message from your computer. [v.1]




The information contained in this electronic message is confidential information intended only for the use of the named recipient(s) and may contain information that, among
other protections, is the subject of attorney-client privilege, attorney work product or exempt from disclosure under applicable law. If the reader of this electronic message is
not the named recipient, or the employee or agent responsible to deliver it to the named recipient, you are hereby notified that any dissemination, distribution, copying or
other use of this communication is strictly prohibited and no privilege is waived. If you have received this communication in error, please immediately notify the sender by
replying to this electronic message and then deleting this electronic message from your computer. [v.1]




                                                                                        4
